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                         IN THE UNITED STATES DISTRICT COURT
                              THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
 JOHN MONTESANTI

 Plaintiff

 v.                                                                Case No. 3:22-cv-00688

 NATIONSTAR MORTGAGE LLC d/b/a
 MR. COOPER

 Defendant

                               ORDER EXTENDING DEADLINES

         The Agreed Motion to Extend Deadlines is hereby GRANTED as set forth

hereinbelow. It is therefore ORDERED:

 Jury Trial Date                                        Two Week Docket Beginning
                                                        August 20, 2023 at 9:00am
  Pretrial Conference                                   August 13, 2023

 Deadline to finalize discovery                         May 29, 2023
 Deadline to Mediate                                    June 12, 2023
 Deadline to Designate Expert Witnesses                 April 19, 2023
 (including rebuttal experts)                           May 19, 2023
 Counsel shall confer and file a joint report           June 19, 2023
 setting forth the status of settlement
 negotiations
 All motions for summary judgment shall be              June 26, 2023
 filed by
 All challenges to experts—including                    June 26, 2023
 motions to strike or exclude expert
 witnesses—shall be filed
 Counsel shall file a Joint Pretrial Order              August 3, 2023
 containing the information required by
 Local Rule 16.4 plus the following:
 a. A list of witnesses who may be called by
 each party in its case in chief. Each such
 witness list shall contain a narrative
 summary of the testimony to be elicited
 from each witness, shall state whether the
 witness has been deposed, and whether the
 witness’s testimony at trial is “probable,”
 “possible,” “expert,” or “record custodian.” A


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 copy of this list must be furnished to the
 court reporter prior to trial;
 b. A joint proposed jury charge. The
 parties must submit the proposed charge to
 the Court in Word format. The parties
 must annotate the joint proposed charge,
 explaining any objections and including
 citations to pattern jury instructions or
 caselaw.
 c. Proposed interrogatories
 d. The status of settlement negotiations as
 of the date of the Pretrial Order;
 e. Each party’s proposed voir dire questions
 if the matter is a jury trial. The Court will
 allow attorneys an allotted time to conduct
 questioning at voir dire so long as the
 questions are approved in advance by the
 Court. The Court reserves the right to
 conduct further questioning at the
 conclusion of attorney questioning; and
 f. Trial briefs may be filed with the Pretrial
 Order but are not required unless
 specifically requested by the Court.
 Regarding exhibit lists, exhibits, witness             August 3, 2023
 lists, and deposition designations, the
 parties shall comply with Local Rule 26.2.
 This includes providing copies of your trial
 exhibits to the Court on a USB flash drive
 or by email at
 Starr_Orders@txnd.uscourts.gov
  Deposition designations should be made
 for only those witnesses who qualify as
 “unavailable” for trial under Federal Rule
 of Civil Procedure 32(a)(4). The parties
 should brief the Court on why a given
 witness counts as unavailable under Rule
 32. Deposition
 designations should not be made for
 witnesses who will testify live.
 Motions in Limine                                      August 3, 2023
 Responses to Motion in Limine                          August 6, 2023
 Deadline to file Objections to witnesses               August 6, 2023
 (except expert witnesses), exhibits, and
 deposition designations. Counsel must
 confer about exhibits and make reasonable
 efforts to agree upon admissibility.
 Deadline to file Objections to the                     August 6, 2023
 interrogatories.


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 The parties must confer and file, by a joint           August 6, 2023 at 5:00 PM
 status report on pretrial objections to
 exhibits, witnesses (except expert
 witnesses),
 and deposition designations.


Dated: January 18, 2023




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